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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                        Plaintiff,
                                                       Case No. 1:25-cv-00716 (BAH)
 v.
                                                       Judge Beryl A. Howell
 U.S. DEPARTMENT OF JUSTICE, et al.,

                        Defendants.


       NOTICE OF VOLUNTARY DISMISSAL OF FANNIE MAE DEFENDANTS

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Perkins Coie LLP, by

undersigned counsel, hereby gives notice of the voluntary dismissal of the following defendants:

               (1) Fannie Mae; and

               (2) William J. Pulte, in his official capacity as Chairman of Fannie Mae.

Because neither defendant has served an answer or a motion for summary judgment, no court order

is required to effectuate this dismissal. See Fed. R. Civ. P. 41(a)(1)(A)(i).

       Please note that William J. Pulte remains a defendant in his official capacity as Director of

the Federal Housing Finance Agency. This notice does not affect the claims against any other

defendant.

Dated: April 30, 2025                         Respectfully submitted,

                                              WILLIAMS & CONNOLLY LLP

                                         By: /s/ Christopher N. Manning
                                             Christopher N. Manning (D.C. Bar #464069)
                                             680 Maine Avenue, SW
                                             Washington, DC 20024
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                                              Counsel for Plaintiff Perkins Coie LLP
